Case 1:14-cv-02302-CRK Document 137-2 Filed 03/22/18 Page 1 of 6




   EXHIBIT A
       Case 1:14-cv-02302-CRK Document 137-2 Filed 03/22/18 Page 2 of 6   365
     I2srmay1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    ROSANNA MAYO-COLEMAN,

4                      Plaintiff,

5                v.                               14 CV 79 (PAC)

6    AMERICAN SUGAR HOLDING INC.
     and ROBERT JANDOVITZ,
7                                                 Trial
                       Defendants.
8
     ------------------------------x
9                                                 New York, N.Y.
                                                  February 28, 2018
10                                                9:30 a.m.

11
     Before:
12
               HON. PAUL A. CROTTY
13
                                                  District Judge
14

15
               APPEARANCES
16

17   CHARNY & ASSOCIATES
          Attorneys for Plaintiff
18   BY: NATHANIEL A. CHARNY

19
     NESENOFF & MILTENBERG LLP
20        Attorneys for Plaintiff
     BY: MEGAN S. GODDARD
21

22   EPSTEIN BECKER & GREEN P.C.
          Attorneys for Defendants
23   BY: KENNETH J. KELLY
          ROBERT D. GOLDSTEIN
24        CAROL J. FAHERTY

25


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      Case 1:14-cv-02302-CRK Document 137-2 Filed 03/22/18 Page 3 of 6   477
         I2srmay3                    Jandovitz - direct

1    A.   Once again I guess hundreds.     Nonmanagement but not union?

2    Q.   Sure.

3    A.   You had hourly nonunion employees.

4    Q.   How many hourly nonunion?

5    A.   Hundreds again, I guess.

6    Q.   How many union employees?

7    A.   I don't know.    Thousands, I guess.

8                THE COURT:   Thousands you guess?

9                THE WITNESS:   Thousands, yes.

10   Q.   It's a big company, right?

11   A.   Sure.

12   Q.   It's one of the world's largest suppliers of refined sugar,

13   right?

14   A.   Yes.

15   Q.   ASR actually consists of several companies, right?

16   A.   I do believe so, yes.

17   Q.   Domino Sugar?

18   A.   Yes.

19   Q.   C&H Sugar?

20   A.   Yes.

21   Q.   Redpath Sugar?

22   A.   Yes.

23   Q.   Tate & Lyle Sugar?

24   A.   Yes.

25   Q.   Sidul?


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      Case 1:14-cv-02302-CRK Document 137-2 Filed 03/22/18 Page 4 of 6          478
         I2srmay3                    Jandovitz - direct

1    A.   Yes.

2    Q.   And Belize Sugar Industries, right?

3    A.   I'm not sure of the last one.

4    Q.   Belize Sugar?

5    A.   Yes, Belize, yes.

6    Q.   ASR annual sales were in the billions of dollars, is that

7    right?

8    A.   I do believe so.

9    Q.   You oversaw HR managers at other locations of ASR, right?

10   A.   At one point in my career, yes.

11   Q.   Who did you report to in 2008?

12   A.   Donald Brainard, I do believe.

13   Q.   What was Donald Brainard's role?

14   A.   He was vice president of human resources.

15   Q.   How many vice presidents are there at ASR or were there at

16   ASR?

17   A.   I have no idea how many there are.

18   Q.   Did you report to anyone else besides Donald?

19   A.   Once Donald retired, I reported to a Kenneth Engel.            Once

20   he left the organization, I reported to a Peter Andridge.

21   Q.   Who is David Arne?

22   A.   He works in the legal department for the organization.           He

23   helps out with our labor-management in terms of negotiations,

24   etc., based out of I think Chicago he was.

25   Q.   Mr. Jandovitz, I'm sorry, if you could move your microphone


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       Case 1:14-cv-02302-CRK Document 137-2 Filed 03/22/18 Page 5 of 6   629
     I31KMAY1

1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    ROSANNA MAYO-COLEMAN,

4                      Plaintiff,

5                v.                               14 CV 79 (PAC)

6    AMERICAN SUGAR HOLDING INC.
     and ROBERT JANDOVITZ,
7                                                 Trial
                       Defendants.
8
     ------------------------------x
9                                                 New York, N.Y.
                                                  March 1, 2018
10                                                9:04 a.m.

11   Before:

12             HON. PAUL A. CROTTY

13                                                District Judge

14

15             APPEARANCES

16
     CHARNY & ASSOCIATES
17        Attorneys for Plaintiff
     BY: NATHANIEL K. CHARNY
18

19   NESENOFF & MILTENBERG LLP
          Attorneys for Plaintiff
20   BY: MEGAN S. GODDARD

21
     EPSTEIN BECKER & GREEN P.C.
22        Attorneys for Defendants
     BY: KENNETH J. KELLY
23        ROBERT D. GOLDSTEIN
          CAROL J. FAHERTY
24

25


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       Case 1:14-cv-02302-CRK Document 137-2 Filed 03/22/18 Page 6 of 6        749
     I31rmay4                    Summation - Mr. Charny

1    Mayo-Coleman doesn't have that power, American Sugar does.

2    American Sugar had the power to use their resources to properly

3    investigate what was going on with Tyrone Smith.          They had the

4    power, not Ms. Mayo-Coleman.

5               What did American Sugar do with all of their power,

6    all of their billions of dollars of resources at their

7    fingertips?    What did they do to protect Ms. Mayo-Coleman?          I

8    propose to you not only did they do nothing, they did less than

9    nothing.    They caused even more damage by what they did not do

10   to protect Ms. Mayo-Coleman.

11              As of 2008 Ms. Mayo-Coleman had more than 20 years

12   with American Sugar, about 20 years.        She was a union activist.

13   She was the first female shop steward, the first female union

14   delegate, by all accounts a good, smart, tough colleague and a

15   great employee of the company.

16              Tyrone Smith arrives in 2008.      You heard about the

17   creepy comments regarding the street clothes, the advances he

18   made toward her, and things got tougher.         In 2010 she reports

19   to Freddy Paniccia what's going on.        You met Freddy Paniccia.

20   A credible guy I propose; it's your decision to make.           She

21   reports to Paniccia, who is a member of management.

22              The company is on notice.      He's management.     They

23   know.   As of Freddy Paniccia knowing, they know what is going

24   on.   He is a member of management.       They knew at that point.

25   Paniccia was some form of protection to Rosanna Mayo-Coleman,


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